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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION


    DARELTECH, LLC,

             Plaintiff,

              v.

    SAMSUNG ELECTRONICS CO. LTD.
    AND SAMSUNG ELECTRONICS
    AMERICA, INC.,
                                                  Civil Action No.: 4:18-CV-00702
             Defendants.


    SAMSUNG ELECTRONICS CO. LTD.
    AND SAMSUNG ELECTRONICS
    AMERICA, INC.,

             Counterclaim-Plaintiffs,

              v.

    DARELTECH, LLC,

             Counterclaim-Defendant.



         ORDER GRANTING UNOPPOSED MOTION TO EXTEND TIME TO FILE
           JOINT CLAIM CONSTRUCTION CHARTPURSUANT TO LPR 4-5(d)

           Pending before the Court is Plaintiff’s Unopposed Motion To Extend Time

.   To File Joint Claim Construction Chart Pursuant To LPR 4-5(d) (Dkt. #47). The Court finds

    the motion should be GRANTED.

           It is therefore ORDERED that the Joint Claim Construction Chart, originally due on

    December 27, 2019, is now due on January 10, 2020.
          SIGNED this 7th day of January, 2020.




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                                        AMOS L. MAZZANT
